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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                                      Case No. 1:21-cr-175-TJK-2

JOSEPH BIGGS, et al.,
               Defendants.

  MOTION TO REQUEST COURT TO GIVE ON A DAILY BASIS ADMONITION TO
 JURORS CONCERNING OUTSIDE COMMUNICATIONS, RESEARCH AND MEDIA

      New developments, news, commentary, and lively public debate concerning events at the

Capitol on January 6, 2021 have appeared in the media on a repeated, regular and high-decibel

basis since the start of this trial on December 19, 2022. Accordingly, defendant Joseph Biggs

respectfully requests that the following instruction (or something similar) be given to the jury

daily at the end of each trial day until the trial is concluded: “As always, [conduct] no discussion

of the evidence in this case with anyone, [conduct] no independent investigation, and please

avoid the media regarding January 6 or this case especially.” E.g., March 7, 2023 Tr. at 12409.

      For good cause shown, defendant respectfully requests that this Motion be granted.


                                             COUNSEL FOR JOSEPH R. BIGGS

Dated: March 13, 2023                         By: /s/ J. Daniel Hull
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                               CERTIFICATE OF SERVICE

             The undersigned certifies that on March 13, 2023 the foregoing motion was

served upon all counsel of record via the Electronic Case Filing (ECF) system.


                                            By: /s/ J. Daniel Hull
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